                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:13-cr-128-HSM-SKL
                                                      )
v.                                                    )
                                                      )
KENTARIUS NEALY                                       )

                                            ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the five count

Indictment (2) accept Defendant’s plea of guilty to the lesser offense of the charge in Count One of

the Indictment, that is of conspiracy to distribute 28 grams or more of a mixture and substance

containing a detectable amount of cocaine base (“crack”), a Schedule II controlled substance, in

violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B); (3) adjudicate Defendant guilty of the

lesser offense of the charge in Count One of the Indictment, that is of conspiracy to distribute 28

grams or more of a mixture and substance containing a detectable amount of cocaine base (“crack”),

a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B) ;

(4) defer a decision on whether to accept the plea agreement until sentencing; and (5) find defendant

shall remain in custody until sentencing in this matter [Doc. 71]. Neither party filed a timely

objection to the report and recommendation. After reviewing the record, the Court agrees with the

magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS

the magistrate judge’s report and recommendation [Doc. 71] pursuant to 28 U.S.C. § 636(b)(1) and

ORDERS as follows:

       (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment




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            is GRANTED;

      (2)   Defendant’s plea of guilty to the lesser offense of the charge in Count One of the

            Indictment, that is of conspiracy to distribute 28 grams or more of a mixture and

            substance containing a detectable amount of cocaine base (“crack”), a Schedule II

            controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B)

            is ACCEPTED;

      (3)   Defendant is hereby ADJUDGED guilty of the lesser offense of the charge in Count

            One of the Indictment, that is of conspiracy to distribute 28 grams or more of a

            mixture and substance containing a detectable amount of cocaine base (“crack”), a

            Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and

            841(b)(1)(B);

      (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

            and

      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on Monday, April 28, 2014 at 2:00 p.m. [EASTERN]

            before the Honorable Harry S. Mattice, Jr.

      SO ORDERED.

      ENTER:

                                                      /s/Harry S. Mattice, Jr.
                                                      HARRY S. MATTICE, JR.
                                                 UNITED STATES DISTRICT JUDGE




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